Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 1 of 14 Pageid#: 3894




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                              ABINGDON DIVISION


 UNITED STATES OF AMERICA

              v.                                    Case No. 1:17CR00020

 AMBER BILYEU


                                   PLEA AGREEMENT

         I have agreed to enter into a plea agreement with the United States of America,
 pursuant to Rule 11 of the Federal Rules of Criminal Procedure. The terms and conditions
 of this agreement are as follows:

 A. CHARGE{S) TO WHICH I AM PLEADING GUILTY AND WAIVER OF
    RIGHTS

    1. The Charges and Potential Punishment

        My attorney has informed me of the nature of the charge(s) and the elements of the
 charge(s) that must be proved by the United States beyond a reasonable doubt before I
 could be found guilty as charged.

        I will enter a plea of guilty to Count 1 of the Indictment.

        Count 1 charges me with conspiring to possess with the intent to distribute and
 distribute 500 grams or more of a substance containing methamphetamine, a Schedule II
 controlled substance, in violation of 21 U.S.C. §§ 846 & 841(b)(l)(A). The maximum
 statutory penalty is a fine of $10,000,000 and/or imprisonment for a term of life, plus a
 term of supervised release of at least ten years. There is a mandatory minimum sentence
 of imprisonment for a term of ten years.

        I understand restitution may be ordered, my assets may be subject to forfeiture, and
 fees may be imposed to pay for incarceration, supervised release, and costs of prosecution.
 In addition, a $100 special assessment, pursuant to 18 U.S.C. § 3013, will be imposed per



 Defendant's Initials:   .Qb_
                                         Page 1 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 2 of 14 Pageid#: 3895




 felony count of conviction. I further understand my supervised release may be revoked if
 I violate its terms and conditions. I understand a violation of supervised release increases
 the possible period of incarceration.

        I am pleading guilty as described above because I am in fact guilty and because I
 believe it is in my best interest to do so and not because of any threats or promises. There
 has been no promise made whatsoever by anyone as to what the final disposition of this
 matter will be.

     2. Waiver of Constitutional Rights Upon a Plea of Guilty

         I acknowledge I have had all of my rights explained to me and I expressly recognize
  I have the following constitutional rights and, by voluntarily pleading guilty, I knowingly
  waive and give up these valuable constitutional rights:

         a.The right to plead not guilty and persist in that plea;
         b.The right to a speedy and public jury trial;
         c.The right to assistance of counsel at that trial and in any subsequent appeal;
         d.The right to remain silent at trial;
         e.The right to testify at trial;
         f.The right to confront and cross-examine witnesses called by the government;
         g.The right to present evidence and witnesses in my own behalf;
         h.The right to compulsory process of the court;
        1. The right to compel the attendance of witnesses at trial;
        J. The right to be presumed innocent;
        k. The right to a unanimous guilty verdict; and
        1. The right to appeal a guilty verdict.

     3. Dismissal of Counts

          If I comply with my obligations under the plea agreement, the United States will
  move, at sentencing, that I be dismissed as a defendant in any remaining count(s). I
  stipulate and agree the United States had probable cause to bring all the counts in the
  Indictment which are being dismissed under this agreement, these charges were not
  frivolous, vexatious or in bad faith, and I am not a "prevailing party" with regard to these
  charges. I further waive any claim for attorney's fees and other litigation expenses arising
  out of the investigation or prosecution of this matter.

  B. SENTENCING PROVISIONS



 Defendant's Initials:   ~
                                         Page 2 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 3 of 14 Pageid#: 3896




     1. General Matters

        I understand the determination of what sentence should be imposed, within the
 confines of any applicable statutory minimums and maximums, is in the sole discretion of
 the Court subject to its consideration of the United States Sentencing Guidelines
 ("guidelines" or "U.S.S.G") and the factors set forth at 18 U.S.C. § 3553(a). I understand
 I will have an opportunity to review a copy of my presentence report in advance of my
 sentencing hearing and may file objections, as appropriate. I will have an opportunity at
 my sentencing hearing to present evidence, bring witnesses, cross-examine any witnesses
 the government calls to testify, and argue to the Court what an appropriate sentence should
 be within the confines of the terms of this agreement.

        I understand I will not be eligible for parole during any term of imprisonment
 imposed. I understand the Court is not bound by any recommendation or stipulation
 contained in this agreement and may sentence me up to the statutory maximum. I
 understand I will not be allowed to withdraw my plea of guilty if the Court disregards the
 stipulations and/or recommendations set forth in the plea agreement.

        I understand if the sentence is more severe than I expected, I will have no right to
 withdraw my plea. I have discussed sentencing issues with my attorney and realize there
 is a substantial likelihood I will be incarcerated.


     2. Sentencing Guidelines

         I stipulate and agree that all matters pertaining to any of the counts of the charging
  document(s), including any dismissed counts, are relevant conduct for purposes of
  sentencing.

          The parties agree the 2016 edition of the United States Sentencing Guidelines
  Manual applies to any guidelines calculation made pertaining to my offense(s). I stipulate
  that the following guideline section(s) are applicable to my conduct:

       I   2D 1.1   I   36 I Offense involved at least 1.5 kilograms of "Ice"

        The United States stipulates that the guideline section(s) set forth in this section
  should apply to my conduct.




  Defendant's Initials:   ~
                                            Page 3 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 4 of 14 Pageid#: 3897




         I understand other guideline sections may be applicable to my case and the United
 States and I will be free to argue whether these sections should or should not apply; to the
 extent the arguments are not inconsistent with the stipulations, recommendations and terms
 set forth in this plea agreement.

          The United States agrees to recommend a sentence within the applicable guideline
 range.

         I agree to accept responsibility for my conduct. If I comply with my obligations
 under this plea agreement and accept responsibility for my conduct, the United States will
 recommend the Court grant me a two-level reduction in my offense level, pursuant to
 U.S.S.G. § 3El.l(a) and, if applicable, at sentencing, will move that I receive a one-level
 reduction in my offense level, pursuant to U.S.S.G. § 3El.l(b), for purposes of any
 guidelines calculation. However, I stipulate that if I fail to accept responsibility for my
 conduct or fail to comply with any provision of this plea agreement, I should not receive
 credit for acceptance of responsibility. In addition, I understand and agree the United
 States will have a continuing objection to me receiving credit for acceptance of
 responsibility until I have testified truthfully at my sentencing hearing, if called upon to
 testify. I agree the United States will not be required to make any other notice of its
 objection on this basis.

    3. Substantial Assistance

        I understand the United States retains all of its rights pursuant to Fed. R. Crim. P.
 35(b), U.S.S.G. §5Kl.1 and 18 U.S.C. § 3553(e ). I understand even if I fully cooperate
 with law enforcement, the United States is under no obligation to make a motion for the
 reduction of my sentence. I understand if the United States makes a motion for a reduction
 in my sentence, the Court, after hearing the evidence, will determine how much of a
 departure, if any, I should be given.

    4. Monetary Obligations

          a. Special Assessments, Fines and Restitution

        I understand persons convicted of crimes are required to pay a mandatory
 assessment of $100.00 per felony count of conviction. I agree I will submit to the U.S.
 Clerk's Office, a certified check, money order, or attorney's trust check, made payable to
 the "Clerk, U.S. District Court" for the total amount due for mandatory assessments prior
 to entering my plea of guilty.



 Defendant's Initials:   ~
                                        Page 4 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 5 of 14 Pageid#: 3898




         I agree to pay restitution for the entire scope of my criminal conduct, including, but
 not limited to, all matters included as relevant conduct. In addition, I agree to pay any
 restitution required by law, including, but not limited to, amounts due pursuant to 18 USC
 §§ 2259, 3663, and/or 3663A. I understand and agree a requirement I pay restitution for
 all of the above-stated matters will be imposed upon me as part of any final judgment in
 this matter.

          I further agree to make good faith efforts toward payment of all mandatory
  assessments, restitution and fines, with whatever means I have at my disposal. I agree
  failure to do so will constitute a violation of this agreement. I will execute any documents
  necessary to release the funds I have in any repository, bank, investment, other financial
  institution, or any other location in order to make partial or total payment toward the
  mandatory assessments, restitution and fines imposed in my case.

         I fully understand restitution and forfeiture are separate financial obligations which
  may be imposed upon a criminal defendant. I further understand there is a process within
  the Department of Justice whereby, in certain circumstances, forfeited funds may be
  applied to restitution obligations. I understand no one has made any promises to me that
  such a process will result in a decrease in my restitution obligations in this case.

          I understand and agree, pursuant to 18 U.S.C. §§ 3613 and 3664(m), whatever
  monetary penalties are imposed by the Court will be due immediately and subject to
  immediate enforcement by the United States as provided for by statute. I understand if the
  Court imposes a schedule of payments, that schedule is only a minimum schedule of
  payments and not the only method, nor a limitation on the methods, available to the United
  States to enforce the judgment.

         I agree to grant the United States a wage assignment, liquidate assets, or complete
  any other tasks which will result in immediate payment in full, or payment in the shortest
  time in which full payment can be reasonably made as required under 18 U.S.C. § 3572(d).

          I agree the following provisions, or words of similar effect, should be included as
  conditions of probation and/or supervised release: (1) "The defendant shall notify the
  Financial Litigation Unit, United States Attorney's Office, in writing, of any interest in
  property obtained, directly or indirectly, including any interest obtained under any other
  name, or entity, including a trust, partnership or corporation after the execution of this
  agreement until all fines, restitution, money judgments and monetary assessments are paid
  in full" and (2) "The Defendant shall notify the Financial Litigation Unit, United States



  Defendant's Initials:~

                                          Page 5 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 6 of 14 Pageid#: 3899




  Attorney's Office, in writing, at least 30 days prior to transferring any interest in property
  owned directly or indirectly by Defendant, including any interest held or owned under any
  other name or entity, including trusts, partnership and/or corporations until all fines,
  restitution, money judgments and monetary assessments are paid in full."

          The parties will also jointly recommend that as a condition of probation or
  supervised release, Defendant will notify the Financial Litigation Unit, United States
  Attorney's Office, before Defendant transfers any interest in property owned directly or
  indirectly by Defendant, including any interest held or owned under any other name or
  entity, including trusts, partnership and/or corporations. See 18 U.S.C. § 3664(k), (n).

         Regardless of whether or not the Court specifically directs participation or imposes
  a schedule of payments, I agree to fully participate in inmate employment under any
  available or recommended programs operated by the Bureau of Prisons.

          I agree any payments made by me shall be applied fully to the non-joint and several
  portion of my outstanding restitution balance until the non-joint and several portion of
  restitution is paid in full, unless the Court determines that to do so would cause a hardship
  to a victim of the offense(s).

         b. Duty to Make Financial Disclosures

         I understand in this case there is a possibility substantial fines and/or restitution may
  be imposed. In order to assist the United States as to any recommendation and in any
  necessary collection of those sums, I agree, if requested by the United States, to provide a
  complete and truthful financial statement to the United States Attorney's Office, within 30
  days of the request or 3 days prior to sentencing, whichever is earlier, detailing all income,
  expenditures, assets, liabilities, gifts and conveyances by myself, my spouse and my
  dependent children and any corporation, partnership or other entity in which I hold or have
  held an interest, for the period starting on January 1st of the year prior to the year my
  offense began and continuing through the date of the statement. This financial statement
  shall be submitted in a form acceptable to the United States Attorney's office.

        From the time of the signing of this agreement or the date I sign the financial
  statement, whichever is earlier, I agree not to convey anything of value to any person
  without the authorization of the United States Attorney's Office.

         c. Understanding of Collection Matters




  Defendant's Initials:   {±h
                                           Page 6 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 7 of 14 Pageid#: 3900




        I understand:

        1. as part of the judgment in this case I will be ordered to pay one or more monetary
           obligations;
        2. payment should be made as ordered by the Court;
        3. I must mail payments, by cashier's check or money order, payable to the "Clerk,
           U.S. District Court" to: 210 Franklin Road, S.W., Suite 540, Roanoke, Virginia
           24011; and include my name and court number on the check or money order;
        4. interest (unless waived by the Court) and penalties must be imposed for late or
           missed payments;
        5. the United States may file liens on my real and personal property that will remain
           in place until monetary obligations are paid in full, or until liens expire (the later
           of 20 years from date of sentencing or release from incarceration);
        6. if I retain counsel to represent me regarding the United States' efforts to collect
           any of my monetary obligations, I will immediately notify the United States
           Attorney's Office, ATTN: Financial Litigation Unit, P.O. Box 1709, Roanoke,
           Virginia 24008-1709, in writing, of the fact of my legal representation; and
        7. I, or my attorney if an attorney will represent me regarding collection of
           monetary obligations, can contact the U.S. Attorney's Office's Financial
           Litigation Unit at 540/857-2259.

 C. ADDITIONAL MATTERS

    1. Waiver of Presence of Counsel

        I understand my attorney may be present at any contact with any government
 personnel. However, by my signature below, I expressly waive the presence of counsel
 during such contacts and agree government personnel may contact me without the prior
 approval of my attorney. At any time during such contacts with government personnel, I
 may request the presence of my attorney and the contact will be suspended until my
 attorney arrives or indicates that the contact may continue.

    2. Waiver of Right to Appeal

        Knowing that I have a right of direct appeal of my sentence under 18 U.S.C. §
 3742(a) and the grounds listed therein, I expressly waive the right to appeal my sentence
 on those grounds or on any ground. In addition, I hereby waive my right of appeal as to
 any and all other issues in this matter and agree I will not file a notice of appeal. I am
 knowingly and voluntarily waiving any right to appeal. By signing this agreement, I am



 Defendant's Initials:   .e:b.._
                                          Page 7 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 8 of 14 Pageid#: 3901




 explicitly and irrevocably directing my attorney not to file a notice of appeal.
 Notwithstanding any other language to the contrary, I am not waiving my right to appeal
 or to have my attorney file a notice of appeal, as to any issue which cannot be waived, by
 law. I understand the United States expressly reserves all of its rights to appeal. I agree
 and understand if I file any court document (except for an appeal based on an issue
 that cannot be waived, by law, or a collateral attack based on ineffective assistance of
 counsel) seeking to disturb, in any way, any order imposed in my case such action
 shall constitute a failure to comply with a provision of this agreement.

     3. Waiver of Right to Collaterally Attack

          I waive any right I may have to collaterally attack, in any future proceeding, any
  order issued in this matter, unless such attack is based on ineffective assistance of counsel,
  and agree I will not file any document which seeks to disturb any such order, unless such
  filing is based on ineffective assistance of counsel. I agree and understand that if I file
  any court document (except for an appeal based on an issue not otherwise waived in
  this agreement; an appeal based on an issue that cannot be waived, by law; or a
  collateral attack based on ineffective assistance of counsel) seeking to disturb, in any
  way, any order imposed in my case, such action shall constitute a failure to comply
  with a provision of this agreement.

     4. Information Access Waiver

         I knowingly and voluntarily agree to waive all rights, whether asserted directly or
  by a representative, to request or receive from any department or agency of the United
  States any records pertaining to the investigation or prosecution of this case, including
  without limitation any records that may be sought under the Freedom of Information Act,
  5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S.C. §552a.

     5. Waiver of Witness Fee

         I agree to waive all rights, claims or interest in any witness fee I may be eligible to
  receive pursuant to 28 U.S.C. § 1821, for my appearance at any Grand Jury, witness
  conference or court proceeding.

     6. Abandonment of Seized Items

         By signing this plea agreement, I hereby abandon my interest in, and consent to the
  official use, destruction or other disposition of each item obtained by any law enforcement



  Defendant's Initials:   ~
                                          Page 8 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 9 of 14 Pageid#: 3902




 agency during the course of the investigation, unless such item is specifically provided for
 in another provision of this plea agreement. I further waive any and all notice of any
 proceeding to implement the official use, destruction, abandonment, or other disposition of
 such items.

     7. Deportation

        I understand ifl am not a citizen of the United States, I may be subject to deportation
 from the United States, denied United States citizenship, and denied admission to the
 United States in the future, as a result of my conviction for the offense(s) to which I am
 pleading guilty.

     8. Denial of Federal Benefits

         At the discretion of the court, I understand I may also be denied any or all federal
  benefits, as that term is defined in 21 U.S.C. § 862, (a) for up to five years if this is my first
  conviction of a federal or state offense consisting of the distribution of controlled
  substances, or up to one year if this is my first conviction of a federal or state offense
  involving the possession of a controlled substance; or (b) for up to ten years if this is my
  second conviction of a federal or state offense consisting of the distribution of controlled
  substances, or up to five years if this is my second or more conviction of a federal or state
  offense involving the possession of a controlled substance. If this is my third or more
  conviction of a federal or state offense consisting of the distribution of controlled
  substances, I understand I could be permanently ineligible for all federal benefits, as that
  term is defined in 21 U.S.C. § 862(d).

     9. Admissibility of Statements

         I understand any statements I make (including this plea agreement, and my
  admission of guilt) during or in preparation for any guilty plea hearing, sentencing hearing,
  or other hearing and any statements I make or have made to law enforcement agents, in
  any setting (including during a proffer), may be used against me in this or any other
  proceeding. I knowingly waive any right I may have under the Constitution, any statute,
  rule or other source of law to have such statements, or evidence derived from such
  statements, suppressed or excluded from being admitted into evidence and stipulate that
  such statements can be admitted into evidence.

     10. Additional Obligations




 Defendant's Initials:~b

                                            Page 9 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 10 of 14 Pageid#: 3903




         I agree to cooperate fully with law enforcement agents and will disclose to them, at
  any time requested by them, my knowledge of any criminal activity. I agree I will testify
  truthfully. I hereby waive any right I may have to refuse to answer any questions. I agree
  to be debriefed by law enforcement agents concerning any matter. I understand it is a
  felony offense to make false statements to law enforcement agents or to testify falsely.

         I agree not to commit any of the following acts:

             •   attempt to withdraw my guilty plea;
             •   deny I committed any crime to which I have pled guilty;
             •   make or adopt any arguments or objections to the presentence report that are
                 inconsistent with this plea agreement;
             •   obstruct justice;
             •   fail to comply with any provision of this plea agreement;
             •   commit any other crime;
             •   make a false statement;
             •   fail to enter my plea of guilty when scheduled to do so, unless a continuance
                 is agreed to by the United States Attorney's Office and granted by the Court;
             •   fail to testify truthfully, as to any matter, if called upon to do so (at my
                 sentencing hearing or any other proceeding);
             •   refuse to answer any question;
             •   fail to comply with any reasonable request of the United States Attorney's
                 Office; or
             •   fail to cooperate with law enforcement agents.

  D. REMEDIES AVAILABLE TO THE UNITED STATES

          I hereby stipulate and agree that the United States Attorney's office may, at its
  election, pursue any or all of the following remedies if I fail to comply with any provision
  of this agreement: (a) declare this plea agreement void; (b) refuse to dismiss any charges;
  (c) reinstate any dismissed charges; (d) file new charges; (e) withdraw any substantial
  assistance motion made, regardless of whether substantial assistance has been performed;
  (f) refuse to abide by any provision, stipulations, and/or recommendations contained in this
  plea agreement; or (g) take any other action provided for under this agreement or by statute,
  regulation or court rule.

         In addition, I agree if, for any reason, my conviction is set aside, or I fail to comply
  with any obligation under the plea agreement, the United States may file, by indictment or
  information, any charges against me which were filed and/or could have been filed


  Defendant's Initials:   ~
                                          Page 10 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 11 of 14 Pageid#: 3904




  concerning the matters involved in the instant investigation. I hereby waive my right under
  Federal Rule of Criminal Procedure 7 to be proceeded against by indictment and consent
  to the filing of an information against me concerning any such charges. I also hereby waive
  any statute of limitations defense as to any such charges.

         The remedies set forth above are cumulative and not mutually exclusive. The
  United States' election of any of these remedies, other than declaring this plea agreement
  void, does not, in any way, terminate my obligation to comply with the terms of the plea
  agreement. The use of "if' in this section does not mean "if, and only if."

  E. GENERAL PROVISIONS

     1. Limitation of Agreement

          This agreement only binds the United States Attorney's Office for the Western
  District of Virginia. It does not bind any state or local prosecutor, other United States
  Attorney's Office or other office or agency of the United States Government, including,
  but not limited to, the Tax Division of the United States Department of Justice, or the
  Internal Revenue Service of the United States Department of the Treasury. These
  individuals and agencies remain free to prosecute me for any offense(s) committed within
  their respective jurisdictions.

     2. Effect of My Signature

         I understand my signature on this agreement constitutes a binding offer by me to
  enter into this agreement. I understand the United States has not accepted my offer until it
  signs the agreement.

     3. Effective Representation

          I have discussed the terms of the foregoing plea agreement and all matters pertaining
  to the charges against me with my attorney and am fully satisfied with my attorney and my
  attorney's advice. At this time, I have no dissatisfaction or complaint with my attorney's
  representation. I agree to make known to the Court no later than at the time of sentencing
  any dissatisfaction or complaint I may have with my attorney's representation.

     4. Misconduct

         If I have any information concerning any conduct of any government attorney,



  Defendant's Initials:   ±ib_
                                         Page 11 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 12 of 14 Pageid#: 3905




  agent, employee, or contractor which could be construed as misconduct or an ethical, civil,
  or criminal violation, I agree to make such conduct known to the United States Attorney's
  Office and the Court, in writing, as soon as possible, but no later than my sentencing
  hearing.

     5. Final Matters

         I understand a thorough presentence investigation will be conducted and sentencing
  recommendations independent of the United States Attorney's Office will be made by the
  presentence preparer, which the Court may adopt or take into consideration. I understand
  any calculation regarding the guidelines by the United States Attorney's Office or by my
  attorney is speculative and is not binding upon the Court, the Probation Office or the United
  States Attorney's Office. No guarantee has been made by anyone regarding the effect of
  the guidelines on my case.

         I understand the prosecution will be free to allocute or describe the nature of this
  offense and the evidence in this case and make any recommendations not prohibited by
  this agreement.

          I understand the United States retains the right, notwithstanding any provision in
  this plea agreement, to inform the Probation Office and the Court of all relevant facts, to
  address the Court with respect to the nature and seriousness of the offense(s), to respond
  to any questions raised by the Court, to correct any inaccuracies or inadequacies in the
  presentence report and to respond to any statements made to the Court by or on behalf of
  the defendant.

         I willingly stipulate there is a sufficient factual basis to support each and every
  material factual allegation contained within the charging document(s) to which I am
  pleading guilty.

          I understand this agreement does not apply to any crimes or charges not addressed
  in this agreement. I understand if I should testify falsely in this or in a related proceeding
  I may be prosecuted for perjury and statements I may have given authorities pursuant to
  this agreement may be used against me in such a proceeding.

          I understand my attorney will be free to argue any mitigating factors on my behalf;
  to the extent they are not inconsistent with the terms of this agreement. I understand I will
  have an opportunity to personally address the Court prior to sentence being imposed.




  Defendant's Initials:   'tiB
                                         Page 12 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 13 of 14 Pageid#: 3906




          This writing sets forth the entire understanding between the parties and constitutes
  the complete plea agreement between the United States Attorney for the Western District
  of Virginia and me, and no other additional terms or agreements shall be entered except
  and unless those other terms or agreements are in writing and signed by the parties. This
  plea agreement supersedes all prior understandings, promises, agreements, or conditions,
  if any, between the United States and me.

          I have consulted with my attorney and fully understand all my rights. I have read
  this plea agreement and carefully reviewed every part of it with my attorney. I understand
  this agreement and I voluntarily agree to it. I have not been coerced, threatened, or
  promised anything other than the terms of this plea agreement, described above, in
  exchange for my plea of guilty. Being aware of all of the possible consequences of my
  plea, I have independently decided to enter this plea of my own free will, and am affirming
  that agreement on this date and by my signature below.

  Date: J)   ,'2.a   c   )t
         '
          I have fully explained all rights available to my client with respect to the offenses
  listed in the pending charging document(s). I have carefully reviewed every part of this
  plea agreement with my client. To my knowledge, my client's decision to enter into this
  agreement is an informed and voluntary one.

          I understand I may be present at any contact with my client by any government
  personnel. However, by my signature below, I expressly consent to direct contact with my
  client, without my prior approval, by government personnel, including but not limited to,
  in regard to the collection of monetary amounts owed in this and all related matters. At
  any time during such contacts with government personnel, my client may request my
  presence and the contact will be suspended until I arrive or indicate that the contact may
  continue.

          Ifl will continue to represent my client regarding the United States' efforts to collect
  any monetary obligations, I will notify the United States Attorney's Office, AT1N:
  Financial Litigation Unit, P.O. Box 1709, Roanoke, Virginia 24008-1709, in writing, of
  the fact of my continued legal representation within 10 days of the entry of judgment in
  this case.


  Date: · 1\   '·Lo J    1 ,




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                                          Page 13 of 14
Case 1:17-cr-00020-JPJ Document 253 Filed 11/21/17 Page 14 of 14 Pageid#: 3907




                                     Michael Bragg, Esq.
                                     Counsel for Defendant




                                     Zachary . ee
                                     Assista t United States Attorney
                                     Virg'a State Bar No. 47087




  Defendant's Initials:   -flb_
                                  Page 14 of 14
